Case 2:13-cv-09254-GAF-AJW Document 9 Filed 02/12/14 Page 1 of 4 Page ID #:23



 1 Tammy Hussin, Esq. (Bar No. 155290)
 2 Lemberg & Associates, LLC
   6404 Merlin Drive
 3 Carlsbad, CA 92011
 4 Telephone (855) 301-2100 ext. 5514
   thussin@lemberglaw.com
 5
 6 Lemberg & Associates, LLC
   A Connecticut Law Firm
 7 1100 Summer Street
 8 Stamford, CT 06905
   Telephone: (203) 653-2250
 9 Facsimile: (203) 653-3424
10
   Attorneys for Plaintiff,
11 David Meske
12
13                            UNITED STATES DISTRICT COURT
14                           CENTRAL DISTRICT OF CALIFORNIA
15                                 WESTERN DIVISION
16
     David Meske,                            Case No.: 2:13-cv-09254-GAF-AJW
17
                      Plaintiff,             VOLUNTARY WITHDRAWAL
18
19         vs.
20
   Aircare Medical Supply, Inc.; and DOES
21 1-10, inclusive,
22
                    Defendants.
23
24
25
26
27
28
     2:13-cv-09254-GAF-AJW                                   VOLUNTARY WITHDRAWAL
Case 2:13-cv-09254-GAF-AJW Document 9 Filed 02/12/14 Page 2 of 4 Page ID #:24



 1              NOTICE OF WITHDRAWAL OF COMPLAINT AND
 2          VOLUNTARY DISMISSAL OF ACTION WITHOUT PREJUDICE
                         PURSUANT TO RULE 41(a)
 3
 4
                   David Meske (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
 5
     complaint and voluntarily dismisses this action, without prejudice, pursuant to Fed. R.
 6
     Civ. P. 41(a)(1)(A)(i).
 7
 8                                              By: /s/ Tammy Hussin
 9                                              Tammy Hussin, Esq.
                                                Lemberg & Associates, LLC
10                                              Attorney for Plaintiff, David Meske
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                2
     2:13-cv-09254-GAF-AJW                                          VOLUNTARY WITHDRAWAL
Case 2:13-cv-09254-GAF-AJW Document 9 Filed 02/12/14 Page 3 of 4 Page ID #:25



 1                                  CERTIFICATE OF SERVICE
 2
            I, the undersigned, certify and declare that I am over the age of 18 years, and
 3
 4 not a party to the above-entitled cause. On February 12, 2014, I served a true copy of
 5 foregoing document(s): VOLUNTARY WITHDRAWAL.
 6
 7 BY ELECTRONIC FILING: I hereby                Defendants Aircare Medical Supply, Inc.
 8 certify that on February 12, 2014, a copy 7039 Hayvenhurst Avenue
   of the foregoing document was filed           Van Nuys, California
 9 electronically. Notice of this filing will be
10 sent by operation of the Court's electronic
   filing system to all parties indicated on
11 the electronic filing receipt. All other
12 parties will be served by regular U.S.
   Mail. Parties may access this filing
13 through the Court's electronic filing
14 system.
15
16
            I am readily familiar with the firm's practice of collection and processing
17
18 correspondence for mailing. Under that practice it would be deposited with the U.S.
19 Postal Service on that same day with postage thereon fully prepaid in the ordinary
20
   course of business. I am aware that on motion of the party served, service is presumed
21
22 invalid if postal cancellation date or postage meter date is more than one day after the
23 date of deposit for mailing in affidavit.
24
         I hereby certify that I am employed in the office of a member of the Bar of this
25
26 Court at whose direction the service was made.
27          Executed on February 12, 2014.
28
                                                 3
     2:13-cv-09254-GAF-AJW                                           VOLUNTARY WITHDRAWAL
Case 2:13-cv-09254-GAF-AJW Document 9 Filed 02/12/14 Page 4 of 4 Page ID #:26



 1
 2                                         By: /s/ Tammy Hussin
                                           Tammy Hussin, Esq.
 3                                         Lemberg & Associates, LLC
 4                                         Attorney for Plaintiff, David Meske

 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                           4
     2:13-cv-09254-GAF-AJW                                    VOLUNTARY WITHDRAWAL
